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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NEW YORK


  SOCIAL POSITIONING INPUT
  SYSTEMS, LLC,
                                                  CASE NO. 2:22-cv-00150-JMA-AYS
                        Plaintiff,
                v.
                                                       JURY TRIAL DEMANDED
  FORWARD THINKING SYSTEMS
                                                              PATENT CASE
  LLC

                        Defendant.

                           JOINT STIPULATION OF DISMISSAL

         Plaintiff Social Positioning Input Systems, LLC, and Defendant Forward Thinking

  Systems, LLC, by their respective undersigned counsel, hereby STIPULATE and AGREE as

  follows:

         1.    All claims asserted by the Plaintiff in this Action are dismissed with prejudice

  and all counter-claims asserted by the Defendant in this Action are dismissed without prejudice

  under Fed. R. Civ. P. 41(a)(1)(A)(ii);

         2.    Each party shall bear its own costs and attorneys’ fees with respect to the matters

  dismissed hereby;

         This Stipulation and Order shall finally resolve the Action between the parties.




 JOINT STIPULATION OF DISMISSAL                                                             |1
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 Dated: February 14, 2022           Respectfully submitted,

                                    By: /s/Jay Johnson
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                                    By: /s/ Neil J. McNabnay
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 JOINT STIPULATION OF DISMISSAL                                                   |2
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                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on February 14, 2022, a true and correct copy of the

 foregoing document was filed with the Clerk of the Court using the Court’s CM/ECF system,

 which will send notification of such filing to all counsel of record.


                                                       /s/Jay Johnson
                                                       JAY JOHNSON (pro hac vice pending)




 JOINT STIPULATION OF DISMISSAL                                                            |3
